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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


    UNITED STATES, et al.,
                      Plaintiffs,
          v.                                                  No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,
                          Defendant.

                           MOTION TO WITHDRAW APPEARANCE

          Pursuant to E.D. Va. Civ. R. 83.1(H), Defendant Google LLC (“Google”) seeks leave to

   have Jeanette Marie Bayoumi withdraw her appearance as counsel for Google. In support of its

   motion, Google states as follows:

      1. On March 28, 2023, the Court entered an order granting the application to allow Jeanette

   Marie Bayoumi to enter her pro hac vice appearance for Google (Dkt. No. 84).

      2. Google continues to be represented by other attorneys who are members of the bar of the

   Court and who have been admitted pro hac vice.

      3. Google does not oppose this motion, and no other party will be prejudiced thereby.

          WHEREFORE, Defendant Google seeks entry of an order granting Jeanette Marie

   Bayoumi leave to withdraw as counsel for Google, directing the Clerk of the Court to strike her

   appearance and to remove her from the CM/ECF service list in this matter, and directing all other

   parties that she need not be served with any future pleadings, motions, or other papers in this

   matter. A proposed Order is submitted herewith.

          Defendant Google does not request oral argument on this motion.




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   Dated: January 14, 2025            Respectfully submitted,

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